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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS


  TERRI PEPPER, DALLAS DEAN, DAVE                    )
  SEMANS, CARL MORELAND, HAROLD                      )
  AYDELOTT, DAVID CATHEY, JUSTIN                     )
  EVANS, KATHY DUFF, MELANIE                         )
  EDWARDS, MICHAEL DELONG,                           )
  NICOLE VELA GROSKOPF, RICHARD                      )
  HENDERSON, TODD CIANCIULLI,                        )
  JULIE LEICHTLE and CLINT STEINER,                  )
  individually and on behalf of all others           )
                                                            Case No. 4:20-cv-2961
  similarly situated,                                )
                                                     )
       Plaintiff,                                    )
                                                     )
  v.                                                 )
                                                     )
  BEST STORM LEADS CORP.,                            )

       Defendant.


                             NOTICE OF VOLUNTARY DISMISSAL

           Pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(i), Plaintiffs Terri Pepper, Dallas

Dean, Dave Semans, Carl Moreland, Harold Aydelott, David Cathey, Justin Evans, Kathy Duff,

Melanie Edwards, Michael Delong, Nicole Vela Groskopf, Richard Henderson, Todd Cianciulli,

Julie Leichtle, and Clint Steiner (“Plaintiffs”), through their undersigned counsel, hereby

voluntarily dismiss the above-captioned action in its entirety, and without the assessment of costs

or fees.
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 This the 26th day of July, 2021.


                                    /s/ Cory S. Fein
                                    CORY S. FEIN (TX Bar No. 06879450)
                                    CORY FEIN LAW FIRM
                                    712 Main Street, Suite 800
                                    Houston, TX 77002
                                    (281) 254-7717
                                    (530) 748 - 0601 (fax)
                                    cory@coryfeinlaw.com

                                    /s/ Derek M. Bast
                                    Sean C. Wagner (pro hac vice)
                                    Derek M. Bast (pro hac vice)
                                    WAGNER HICKS PLLC
                                    831 E. Morehead Street, Suite 860
                                    Charlotte, North Carolina 28202
                                    Telephone: (704) 705 7358
                                    sean.wagner@wagnerhicks.law
                                    derek.bast@wagnerhicks.law

                                    ATTORNEYS FOR PLAINTIFFS
                                    AND THE PROPOSED CLASS




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                                CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically filed the foregoing with the Clerk of
Court using the CM/ECF system. I further certify that I have this day served a copy of the foregoing
on the following non-CM/ECF participants by depositing a copy thereof in an envelope bearing
sufficient postage in the United States mail, addressed to the following person(s) at the following
address(es), which is/are the last address(es) known to me:

       Best Storm Leads Corp.
       c/o Ali DeLavari, Registered Agent
       2952 Rodeo Drive
       Minneapolis, MN 55449

       This the 26th day of July, 2021.

                                                     /s/ Derek M. Bast
                                                     Derek M. Bast




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